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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                        :

                v.                              :     19-mj-01595-UA

JAMELIA PHILLIPS                                :

 DEFENDANT’S MOTION TO AUTHORIZE CRIMINAL JUSTICE ACT
 FUNDS FOR LEGAL COUNSEL WITH EXPERTISE IN IMMIGRATION
                         LAW

I.     INTRODUCTION

       Defendant, Jamelia Phillips (“Phillips”), pursuant to the compensation levels

for ancillary expert services provided by the United States Criminal Justice Act for

indigent defendants, asks the Court to enter an Order in the form submitted,

authorizing compensation up to the statutory maximum amount of $2,600.00, to be

paid to an Attorney with expertise in the field of Immigration Law, who would be

able to advise Phillips, a citizen of Jamaica, on the consequences of a conviction in

this case on eligibility for United States Citizenship, potential deportation, the

ability to return to the United States if deported, and related issues. In further

support of this Motion, Phillips states as follows.

II.    PROCEDURAL HISTORY

       1.       Phillips was arrested on September 18, 2019, after corrections

personnel at FDC Philadelphia, 700 Arch Street, Philadelphia, PA 19107, allegedly

observed Phillips provide contraband to J.R., a male inmate at FDC Philadelphia.

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      2.     The interactions between Phillips and J.R. were video recorded from

several different angles as they occurred on September 18, 2019, and the resulting

video recordings have been provided to undersigned counsel and reviewed by

Phillips.

      3.     In a Criminal Complaint prepared by an FBI Special Agent on

September 18 and filed on September 19, 2019, the Government alleged that

Phillips had provided contraband to J.R. in violation of 18 U.S.C. § 1791 (a)(1).

      4.     United States Magistrate Judge Richard A. Lloret appointed

undersigned counsel to represent Phillips on September 19, 2019, and counsel

visited Phillips at FDC Philadelphia on Saturday, September 21, 2019.

      5.     On September 23, 2019, Phillips waived her right to a preliminary

hearing and stipulated to probable cause for the incident alleged by the Criminal

Complaint. Based on the pendency of an Immigration Detainer obtained by the

United States Immigration and Customs Enforcement Agency (“ICE”), Phillips

also consented to detention pending the resolution of this case.

      6.     On October 1, 2019, undersigned counsel advised the Government

that Phillips was willing to be charged by Information and would further provide

the Government with a 30-day extension to file an Information against Phillips.

Phillips, who has no prior criminal record, has provided these accommodations to

the Government in the hope that they can facilitate a prompt resolution of this case.


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III.   MOTION TO AUTHORIZE COMPENSATION FOR
       IMMIGRATION ATTORNEY SERVICES IN THE AMOUNT OF
       $2,600.00

       7.    A recurring question in this case, since counsel’s first meeting with

Phillips on September 21, 2019, has been the effect of a conviction in this case on

Phillip’s immigration status in this country. It appears, based on discussions with

Phillips, that she had overstayed a Visa that allowed her to legally enter the United

States from Jamaica, and was possibly involved in adjusting her status at the point

she was arrested on September 18, 2019.

       8.    Because undersigned counsel does not concentrate his practice in

Immigration Law, he has been unable to provide specific answers to Phillips’

questions, aside from the general observations that an ICE detainer has been filed

against Phillips, and that deportation to Jamaica is a likely consequence of a

conviction in this case.

       9.    To resolve these questions, provide Phillips with effective

representation at all stages of this case, and to fully comply with the mandate of

Padilla v. Kentucky, 559 U.S. 356 (2010) (criminal defense attorneys must advise

noncitizen clients about the deportation risks of a guilty plea), the Court should

enter an Order in the form submitted, authorizing compensation up to the statutory

maximum amount of $2,600.00, to be paid to an Attorney with expertise in the

field of Immigration Law (an “Immigration Lawyer”), who would be able to advise


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Phillips, a citizen of Jamaica, on the consequences of a conviction in this case on

eligibility for United States Citizenship, potential deportation, the ability to return

to the United States if deported, and related issues.

      10.    Undersigned counsel plans to select a qualified Immigration Lawyer

upon receipt of the Court’s authorization and will then advise the Court as to the

identity of the lawyer selection, so that compensation and a meeting between

Phillips and an Immigration Lawyer can be promptly arranged.

IV.   CONCLUSION

      For the reasons stated above, pursuant to the compensation levels for

ancillary expert services provided by the Criminal Justice Act for indigent

defendants, defendant, Jamelia Phillips, asks the Court to enter an Order in the

form submitted, authorizing compensation up to the statutory maximum amount of

$2,600.00, to be paid to a qualified Immigration Lawyer able to advise Jamelia

Phillips on the immigration consequences of a guilty plea in this action.




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                                         RICHARD HANS MAURER




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October 4, 2019




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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :

                v.                             :     19-mj-01595-UA

JAMELIA PHILLIPS                               :

                                       ORDER

       AND NOW, this ______ day of __________________________, 2019,

upon consideration of the Motion filed by Defendant, Jamelia Phillips (“Phillips”)

to Authorize Criminal Justice Act Funds for Legal Counsel with Expertise in

Immigration Law (the “Motion”), and it appearing to the Court that: (i) Phillips

requires the services of a qualified Immigration Lawyer; (ii) Defense counsel in

this action is willing and able to identify a qualified Immigration Lawyer on receipt

of this Order; and (iii) it is likely that compensation for a qualified Immigration

Lawyer will be required in an amount of $2,600.00, it is hereby ORDERED and

DECREED as follows:

       1.       The Motion is GRANTED;

       2.       Defense counsel in this action, Richard H. Maurer (“Attorney

Maurer”), is AUTHORIZED to retain a qualified Immigration Lawyer to provide

legal consultation for Phillips regarding the impact of a conviction in this case on

Phillip’s immigration status; and




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      3.     The compensation under the Criminal Justice Act (the “CJA”) for the

qualified Immigration Lawyer referenced by this Order, who shall be identified by

Attorney Maurer within five days after receipt of this Order, is hereby

AUTHORIZED in an amount not to exceed $2,600.00, which is the current

statutory maximum amount for expert and ancillary services provided to

defendants pursuant to the CJA.

                                                                  BY THE COURT:



                                                           ____________________
                                                                        U.S.M.J.




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                            CERTIFICATE OF SERVICE

           Richard H. Maurer hereby certifies that on the date stated below, he served
a copy of Defendant’s Motion to Authorize Criminal Justice Act Funds for
Necessary Translation Services on the following counsel of record by the Court’s
ECF system:
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                                                Jamelia Phillips
October 4, 2019




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